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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

JOSEPH SANSEVERO                                                                     PLAINTIFFS

       vs.                             4:12CV00641 BRW

PALISADES COLLECTION, LLC.,
                                                                                   DEFENDANTS

               ORDER DISMISSING ACTION BY REASON OF SETTLEMENT

       Counsel has advised the Court that this matter has settled and request the case be

dismissed. The Supreme Court has held that district courts do not have inherent power, that is,

automatic ancillary jurisdiction, to enforce settlement agreements. Ancillary jurisdiction to

enforce a settlement agreement exists "only if the parties' obligation to comply with the terms of

the settlement agreement is made part of the order of dismissal--either by a provision 'retaining

jurisdiction' over the settlement agreement or by incorporation of the terms of the settlement

agreement in the order."1 It is the obligation of the parties requesting dismissal to comply with

the terms of the settlement and this Court specifically retains jurisdiction to enforce the terms of

the settlement agreement.

       IT IS ORDERED that the complaint, be, and it hereby is, dismissed with prejudice,

subject to the terms of the Settlement Agreement. If any party desires that the written settlement

agreement be part of the record, it should be filed with the Court within twenty (20) days.

       IT IS FURTHER ORDERED that the Clerk forthwith serve copies of this Order upon the

lawyers for the parties appearing in this action.

       Dated this 4th day of March, 2013.

                                                          /s/BILLY ROY WILSON
                                                     UNITED STATES DISTRICT JUDGE



 1
  Kokkonon v Guardian Life Insurance Co. of America, 511 U.S. 375, 114 S.Ct. 1673, 1676-77
(1994); Meiner v Missouri Dept. of Mental Health, 62 F.3d 1126, 1127(8th Cir. 1995).
